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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

 The Rotenberg Companies, Inc.,                                   Case No: 22-cv-02156-JRT-LIB

                        Plaintiff,

       v.

 Zurich American Insurance Company,

                        Defendant.

                   STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), Plaintiff and Defendant hereby

stipulate that this action be dismissed with prejudice and on the merits as to all claims, all causes

of action, and all parties, with each party to bear its own attorney fees and costs.

                                               ZELLE LLP

       February 17, 2023                        /s/ Dennis Anderson
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